     Case 1:25-cv-10814-WGY            Document 162-1       Filed 06/30/25      Page 1 of 6




                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 COMMONWEALTH OF
 MASSACHUSETTS; et al.,

                                Plaintiffs,
                                                             No. 1:25-cv-10814-BEM
        v.

 ROBERT F. KENNEDY, JR., et al.,

                                Defendants.



             SUPPLEMENTAL DECLARATION OF RYAN HUTCHINGS, PH.D.

       I, Ryan Hutchings, Ph.D., declare under the penalty of perjury pursuant to 28 U.S.C. §

1746 that the foregoing is true and correct:

       1.      I am employed as a Research Associate II at the California Department of Justice.

I make this supplemental declaration based on my personal knowledge and in support of

Plaintiffs’ opposition to Defendants’ motion to dismiss Plaintiffs’ unreasonable delay claims.

       2.      I previously submitted declarations dated 14 April 2025 and 5 May 2025 which

described code I developed to parse Federal Register data and visualize the cumulative number

of meetings for Fiscal Year 2010 through Fiscal Year 2025. I incorporate those prior declarations

here by reference.

       3.      Using the same methodology and code described in my previous declarations but

updating to include all available data as of 20 June 2025, Figure 1 below visualizes the

cumulative number of meetings scheduled to occur based on the updated output database.

Consistent with my prior declarations, meetings that had been noticed before 22 January 2025

and scheduled to occur between that date and 15 March 2025 are excluded from this analysis, on


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     Case 1:25-cv-10814-WGY             Document 162-1       Filed 06/30/25      Page 2 of 6




the assumption that all or nearly all were canceled. Values in Figure 1 are plotted on the day the

meeting was or is scheduled to occur.




                                                 2
                  Case 1:25-cv-10814-WGY       Document 162-1     Filed 06/30/25   Page 3 of 6




Figure 1: Cumulative Scheduled Grant Related Meetings from 1 October to 30 September Fiscal Years 2010-2025 After

                       Removing Assumed Fiscal Year 2025 Cancellations as of 20 June 2025.




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        Case 1:25-cv-10814-WGY               Document 162-1            Filed 06/30/25   Page 4 of 6




           4.      Figure 1 demonstrates that, as of 30 June 2025, the cumulative number of

meetings in 2025 remains below prior Fiscal Year averages. According to my analysis, NIH has

scheduled 1,644 meetings to occur by 30 June 2025 in Fiscal Year 2025 which is 79% of the

Fiscal Years 2010 to 2024 average of 2,112 meetings scheduled to occur by 30 June and is also

outside of the Fiscal Year 2010 to 2024 range of 1,969 to 2,314 meetings scheduled to occur by

30 June.

           5.      Figure 1 plots the meetings with respect to the dates when they are scheduled to

occur. Therefore, the analysis beyond 5 July 2025 in the current year is necessarily incomplete,

as additional meetings could still be noticed and scheduled during those time periods. 1 Another

way to assess NIH grant-related meeting activity is by visualizing meetings based on the date

they are published (i.e., “noticed”) in the Federal Register. My previous 5 May 2025 declaration

included a Figure 3, which visualized meetings with respect to when they are noticed. The figure

excluded meetings noticed before 22 January 2025 and scheduled to occur between that date and

15 March 2025, on the assumption that all or nearly all were canceled. Figure 2, below, updates

that analysis with data through 20 June 2025




1
    See Amended Complaint ¶ 65 (noting 15 days’ notice requirement).

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                Case 1:25-cv-10814-WGY        Document 162-1     Filed 06/30/25   Page 5 of 6




Figure 2: Cumulative Noticed Grant Related Meetings from 1 October to 30 September Fiscal Years 2010-2025 After

                     Removing Assumed Fiscal Year 2025 Cancellations as of 20 June 2025.




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     Case 1:25-cv-10814-WGY            Document 162-1         Filed 06/30/25             Page 6 of 6




       6.      Figure 2 confirms that NIH remains below the pace of meetings noticed in every

prior Fiscal Year from 2010 to 2024. NIH published notices regarding 1,434 meetings by 20

June 2025 which is 76% of the Fiscal Years 2010 to 2024 average of 1,890 noticed meetings by

20 June as well as outside of the Fiscal Year 2010 to 2024 range of 1,725 to 2,032 noticed

meetings by 20 June. Further, after an initial spike in the number of new meetings noticed in

March (i.e., an average of 138 new meetings noticed per week), the pace of new meetings

noticed dropped considerably (i.e., an average of 44 new meetings noticed per week in May),

and does not appear to be on pace to close the gap relative to prior years.



Executed this 26 June 2025 in Sacramento, CA.

                                                              Digitally signed by Ryan
                                      Ryan Hutchings Hutchings
                                                     Date: 2025.06.26 17:54:01 -07'00'
                                      ___________________________________
                                      RYAN HUTCHINGS




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